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     UNITED STATES OF AMERICA AND
12   TRACY L. WILKISON AND KRISTI KOONS JOHNSON
     IN THEIR OFFICIAL CAPACITY ONLY
13
14
                           UNITED STATES DISTRICT COURT

15
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA

16
                                WESTERN DIVISION

17   PAUL SNITKO, JENNIFER SNITKO,         Case No. 2:21-cv-04405-RGK-MAR
18   JOSEPH RUIZ, TYLER GOTHIER,
     JENI VERDON-PEARSONS,                 DEFENDANTS’ UNITED STATES
19   MICHAEL STORC AND TRAVIS              OF AMERICA, ET AL.’S
     MAY,                                  REQUEST FOR JUDICIAL
20
                                           NOTICE IN SUPPORT OF
             Plaintiffs,                   DEFENDANTS’ OPPOSITION
21
                                           BRIEF TO PLAINTIFFS’
              v.                           OPENING BRIEF
22
     UNITED STATES OF AMERICA, ET
23   AL.,
24          Defendants.
25
26   ///
27   ///
28
 Case 2:21-cv-04405-RGK-MAR Document 123 Filed 08/09/22 Page 2 of 3 Page ID #:4995



1          Defendants United States of America, et al. hereby request the Court to take
2    judicial notice pursuant to Federal Rule of Evidence 201 of the following:
3          1.    The Order Requiring Transfer of The Defendant $325,680.00 In U.S.
4    Currency To Santa Clara County District Attorney’s Office For Application Of
5    The Funds To Any Restitution Orders Entered In The Related Santa Clara County
6    Superior Court Criminal Case And Dismissing This Action Without Prejudice
7    Pursuant To Fed. R. Civ. P. 41(A)(1)(A)(ii) filed June 2, 2022 as ECF No. 23 in
8    United States v. $325,680.00 in U.S. Currency, United States District Court,
9    Central District of California, Case No. 2:21-cv-07331-RGK (MARx). This
10   document is attached hereto as Exhibit A.
11         2.    The Order Requiring Transfer Of The Defendant $250,000.00 In U.S.
12   Currency To Santa Clara County District Attorney’s Office For Application Of
13   The Funds To Any Restitution Orders Entered In The Related Santa Clara County
14   Superior Court Criminal Case And Dismissing This Action Without Prejudice
15   Pursuant To Fed. R. Civ. P. 41(A)(1)(A)(ii) filed June 2, 2022 as ECF No. 25 in
16   United States v. $250,000.00 in U.S. Currency, United States District Court,
17   Central District of California, Case No. 2:21-cv-07188-RGK (MARx). This
18   document is attached hereto as Exhibit B.
19         3.    The Order Requiring Transfer Of The Defendant $709,900.00 In U.S.
20   Currency To Santa Clara County District Attorney’s Office For Application Of
21   The Funds To Any Restitution Orders Entered In The Related Santa Clara County
22   Superior Court Criminal Case And Dismissing This Action Without Prejudice
23   Pursuant To Fed. R. Civ. P. 41(A)(1)(A)(ii) filed June 10, 2022 as ECF No. 30 in
24   United States v. $709,900.00 in U.S. Currency, United States District Court,
25   Central District of California, Case No. 2:21-cv-07191-RGK (MARx). This
26   document is attached hereto as Exhibit C.
27         4.    The Order Requiring Transfer Of The Defendant $1,083,740.00 In
28   U.S. Currency And Miscellaneous Precious Items To Santa Clara County District
                                              2
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1    Attorney’s Office For Application Of The Currency And Net Proceeds From The
2    Sale Of Miscellaneous Precious Items To Any Restitution Orders Entered In The
3    Related Santa Clara County Superior Court Criminal Case And Dismissing This
4    Action Without Prejudice Pursuant To Fed. R. Civ. P. 41(A)(1)(A)(ii) filed
5    June 17, 2022 as ECF No. 30 in United States v. $1,083,740.00 in U.S. Currency
6    and Miscellaneous Precious Items, United States District Court, Central District of
7    California, Case No. 2:21-cv-07279-RGK (MARx). This document is attached
8    hereto as Exhibit D.
9          5.     The Application For A Search Warrant of Safety Deposit Box 8107
10   and Its Contents signed on April 15, 2021 by the Honorable U.S. Magistrate Judge
11   Jacqueline Chooljian, United States District Court, Central District of California
12   Case No. 2:21-MJ-01841. This document is attached hereto as Exhibit E.
13         The grounds for this request are that the Court is empowered to take judicial
14   notice of documents filed in court proceedings. Myer v. Americo Lift, Inc., 469
15   F.3d 731, 732 n. 5 (8th Cir. 2006) (judicial notice of judgments); Burbank-
16   Glendale-Pasadena Airport Authority v. City of Burbank, 136 F.3d 1360, 1364 (9th
17   Cir. 1998) (judicial notice of records in state court litigation); Day v. Moscow, 955
18   F.2d 807, 811 (2d Cir. 1992) (judicial notice of court records).
19   Dated: August 9, 2022                  Respectfully submitted,
20                                          STEPHANIE S. CHRISTENSEN
                                            Acting United States Attorney
21                                          SCOTT M. GARRINGER
                                            Assistant United States Attorney
22                                          Chief, Criminal Division
23
24                                                      /s/                     _
25                                          ANDREW BROWN
                                            VICTOR A. RODGERS
26                                          MAXWELL COLL
27                                          Assistant United States Attorneys
                                            Attorneys for Defendants
28                                          UNITED STATES OF AMERICA, et al.
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